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 1                                                                        Hon. Richard A. Jones

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 5
                             UNITED STATES DISTRICT COURT
 6
                            WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7
     HOWARD BERRY, et al.,
 8
                                 Plaintiff(s),         CASE NO. C15-1299RAJ
 9
            v.                                         ORDER OF DISMISSAL
10
     TRANSDEV SERVICES, INC., et al.,
11
                                 Defendant(s).
12

13          THE COURT having been notified of the settlement of this matter and it

14 appearing that no issue remains for the Court’s determination, IT IS ORDERED that this

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     action and all claims asserted herein are DISMISSED with prejudice and with each party
     bearing its own costs and attorneys’ fees. The trial date and all remaining pretrial
16
     deadlines previously set are hereby stricken.
17
            DATED this 26th day of February, 2020.
18

19                                                    A
20                                                    The Honorable Richard A. Jones
                                                      United States District Judge
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     ORDER OF DISMISSAL - 1
